Case 5:19-cv-01561-MAA Document 21 Filed 10/15/20 Page 1 of 2 Page ID #:1327



  1
  2
  3
  4
  5
  6
  7
  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  9
 10   JOHN LEE SWEENEY,                        )   Case No.: 5:19-cv-01561-AB-MAA
                                               )
 11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                               )   ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
      Commissioner of Social Security,         )   U.S.C. § 1920
 14                                            )
                   Defendant                   )
 15                                            )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $3,200.00 as
 20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 21   awarded subject to the terms of the Stipulation.
 22   DATE: 10/15/20
 23                             ___________________________________
                                THE HONORABLE MARIA A. AUDERO
 24                             UNITED STATES MAGISTRATE JUDGE
 25
 26

                                               -1-
Case 5:19-cv-01561-MAA Document 21 Filed 10/15/20 Page 2 of 2 Page ID #:1328



  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Brian C. Shapiro
      _________________________
  4   Brian C. Shapiro
      Attorney for plaintiff John Lee Sweeney
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26

                                            -2-
